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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

                                              )
JUDICIAL WATCH, INC.,                         )
                                              )
        Plaintiff,                            )
                                              )
                v.                            )       Civil Action No. 20-0239 (TFH)
                                              )
UNITED STATES DEPARTMENT OF                   )
STATE,                                        )
                                              )
        Defendant.                            )
                                              )

                                             ANSWER

        Defendant United States Department of State (the “Department”), by and through

undersigned counsel, hereby responds to the allegations in Plaintiff’s Complaint, filed January

29, 2020, ECF No. 1, as follows:

                                JURISIDCTION AND VENUE 1

        1.      The allegations in Paragraph 1 constitute conclusions of law to which no response

is required.

        2.      The allegations in Paragraph 2 constitute conclusions of law to which no response

is required. Defendant admits that venue is proper in this judicial district.

                                             PARTIES

        3.      Defendant lacks knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 3.




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  Merely for ease of reference, Defendant’s Answer replicates the headings contained in the
Complaint. Although Defendant believes that no response is required to such headings, to the
extent a response is deemed required and to the extent those headings and titles could be
construed to contain factual allegations, those allegations are denied.
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       4.      Defendant admits that the Department is a federal agency, and that it is

headquartered at 2201 C Street, N.W., Washington, D.C. 20520. The remaining allegations in

Paragraph 4 constitute legal conclusions to which no response is required.

                                     STATEMENT OF FACTS

       5.      Defendant admits that Plaintiff submitted a request under the Freedom of

Information Act (“FOIA”), 5 U.S.C. § 552, to Defendant dated November 20, 2019. The

remainder of Paragraph 5 characterizes the request, which speaks for itself and is the best

evidence of its contents. Defendant respectfully refers the Court to the request for a full and

accurate statement of its contents and denies any allegations inconsistent therewith.

       6.      Defendant admits the allegations in Paragraph 6.

       7.      Defendant admits that it provided an automated receipt, acknowledging that the

FOIA request was submitted on November 20, 2019. The remaining allegations in Paragraph 7

characterize the correspondence, which speaks for itself and is the best evidence for its contents.

Defendant respectfully refers the Court to the receipt for a full and accurate statement of its

contents and denies any allegations inconsistent therewith.

       8.      Defendant admits that by email dated January 26, 2020, it acknowledged receipt

of Plaintiff’s November 20, 2019 FOIA request. The remaining allegations in Paragraph 8

characterize the correspondence, which speaks for itself and is the best evidence for its contents.

Defendant respectfully refers the Court to the receipt for a full and accurate statement of its

contents and denies any allegations inconsistent therewith.

       9.      Defendant admits that, as of the date of the Complaint, a final determination had

not yet been made and no documents had been produced to Plaintiff’s FOIA request. The




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remaining allegations in Paragraph 9 constitute Plaintiff’s characterization of this action and

legal conclusions to which no response is required.

                                              COUNT I

        10.     Defendant incorporates its responses to Paragraphs 1 through 9 set forth above.

        11.     The allegations in Paragraph 11 constitute conclusions of law to which no

response is required. To the extent a response is deemed necessary, Defendant denies the

allegations.

        12.     The allegations in Paragraph 12 constitute conclusions of law to which no

response is required. To the extent a response is deemed necessary, Defendant denies the

allegations.

        13.     The allegations in Paragraph 13 constitute conclusions of law to which no

response is required. To the extent a response is deemed necessary, Defendant denies the

allegations.

        14.     The allegations in Paragraph 14 constitute conclusions of law to which no

response is required. To the extent a response is deemed necessary, Defendant denies the

allegations.

        15.     The allegations in Paragraph 15 constitute conclusions of law to which no

response is required. To the extent a response is deemed necessary, Defendant denies the

allegations.

        The remainder of the Complaint constitutes Plaintiff’s request for relief, to which no

response is required. To the extent a response is deemed necessary, Defendant denies that

Plaintiff is entitled to the relief requested, or to any relief whatsoever.




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                                            DEFENSES

       Defendant asserts the following defenses to the Complaint. In asserting these defenses,

Defendant does not assume the burden to establish any fact or proposition where that burden is

properly imposed upon Plaintiff.

       1.      As to some or all of the claims asserted in this action, Plaintiff has failed to state a

claim upon which relief can be granted.

       2.      The Court lacks subject matter jurisdiction over any requested relief that exceeds

the relief authorized by FOIA.

       3.      Plaintiff is not entitled to injunctive relief, declaratory relief, mandamus,

attorney’s fees, costs of suit, or any damages whatsoever.

       4.      Plaintiff cannot compel the production of records protected by one or more FOIA

exemptions.

Dated: March 4, 2020                           Respectfully submitted,

                                               TIMOTHY J. SHEA, D.C. Bar #437437
                                               United States Attorney

                                               DANIEL F. VAN HORN, D.C. Bar #924092
                                               Chief, Civil Division

                                               By:     /s/     Paul Cirino
                                               PAUL CIRINO
                                               Assistant United States Attorney
                                               Civil Division
                                               555 4th Street, N.W.
                                               Washington, D.C. 20530
                                               Telephone: (202) 252-2529
                                               paul.cirino@usdoj.gov

                                               Attorneys for Defendant




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